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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )   Criminal No.: 08-CR-30170-DRH-CJP-9
                                                 )
JIM PAUL STEENKEN, SR.,                          )
                                                 )
               Defendant.                        )

                            REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule 72.1(b)(2).

The Defendant entered a plea of guilty to Count 1 of the Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowing and voluntary as to each count, and that the offense

charged is supported by an independent factual basis containing each of the essential elements of

such offense. I therefore recommend that the plea of guilty be accepted, that a presentence

investigation and report be prepared, and that the Defendant be adjudicated guilty and have sentence

imposed accordingly.

DATED: April 10, 2009
                                                     s/ Donald G. Wilkerson
                                                     DONALD G. WILKERSON
                                                     United States Magistrate Judge

                                             NOTICE

       The failure to file a written objection to this Report and Recommendation within ten (10)
days from the date of service shall bar an aggrieved party from challenging this Report and
Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
